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     ~AO   245B (CASD) (Rev. IJ \) Judgment in a Criminal Case
                Sheet I



                                               UNITED STATES DISTRICT COURT
                                                                                                                                12 APR 19 PM 2: 21
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                              c. £: ~ ~: t~
                                                                                                                                       _c



                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAI1r~;
                                         v.                                        (For Offenses Committed On or Afte:~ovemr;J\ 987)

                          CHRl       IAN CRUCENA (3)                               Case Number: llCR2033-DMS                          II          J
                                                                                    Steven E Feldman CJA
                                 I                                                 Oefendant's Attorney
    REGISTRATION NO. ~7692298
                      ,
    o
    THE DEFENDANT:               i                    .
     181pleaded guilty to cOJ.lIlt(s) _2_0_f_t_he_I_n_d_lc_tm_en_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found guilty on[count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not g~ilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                               Count
    Title & Section                           Nature of Offense                                                                               Number(s)
21 USC 846, 841(a)(I)                  CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                               2




        The defendant is sente~ced as provided in pages 2 through    4    of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 o   Count(s)_ _ _ _ _-+______________ is                                              0      areD dismissed on the motion of the United States.

 181 Assessment: $100.00.

  181 Fine waived.                                  0 Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the !defendant shall notil)< the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notil)< the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               APRIL 19, 2012




                                                                              HON. DANA M. SABRAW
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                  11 CR2033-DMS
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AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
            Sheet 2 -lmpri nment

                                                                                               Judgment - Page _..;;2_ of      4
 DEFENDANT: CH STIAN CRUCENA (3)
 CASE NUMBER: llfR2033-DMS
                                                            IMPRISONMENT
         The defendant iii hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         ONE HUNDi EIGHTY-EIGHT (188) MONTHS.



    o Sentence impo~ed pursuant to Title 8 USC Section 1326(b).
    181 The court rnakj the following recommendations to the Bureau of Prisons:
         Defendant Part cipate in the 500-hour drug treatment program.

                            l

    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant hall surrender to the United States Marshal for this district:
           Oat                                     Oa.rn.      op.m. on _ _ _ _ _ _ _ _ _ __
               as notitietl by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                            i




          o before 1
          o notifie1 by the Umted States Marshal.
               as
          o          by
               as notifie       the Probation or Pretrial Services Office.



                                                                  RETURN

 I have executed this j dgment as follows:

         Defendant deliv~red on                                                   to

 at - - - - - - 1 - - - - - - - - ' with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                        By _ _ _ _ _ _~~~~~~~~~--------
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                     llCR2033-DMS
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AO 245B (CASD) (Rev. 12/1 ) Judgment in a Criminal Case
           Sheet 3  Supe'sed Release
                                                                                                          Judgment-Page _ _
                                                                                                                          3 _ of _ _4;...._ _
DEFENDANT: CHRI IAN CRUCENA (3)                                                                   II
CASE NUMBER: lIe 033-DMS
                                                          SUPERVISED RELEASE
Upon release from impris nment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS.

         The defendant s all report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau f Prisons.
The defendant shall not c mmit another federal, state or local crime.
For offenses committed 0 or after September 13, 1994:
The defendant shall not ill gaily possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined b the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, less otherwise ordered by court.                                            -­

o The above drug testi g condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abu e. (Check, if applicable.)

I8l The defendant shall ot possess a firearm, ammunition. destructive device, or any other dangerous weapon.
181 The defendant shall co perate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination t of2000,_pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o The  defendant shall co ply with tne requirements ofthe Sex Offender Registration anil Notification Act   (42  U.S.C. 16901, et seq.) as directed
                                                                                                                       §
  by the probation office, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
  was convicted of a qua ifying offense. (Check if applicable.)
o defendant shall articipate in an approved program for domestic violence. (Check, if applicable.)
  The
          If this judgment i poses a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains npaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant m st comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imp sed.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall ot leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall    port to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall nswer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall upport his or her dependents and meet other family responsibilities;
  5)    the defendant shall    ork regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall otify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall efrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substanc or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall ot frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall ot associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless gr ted permission to do so by the probation officer;
 10)    the defendant shall ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confIScation of any
        contraband observe in plain view of the probation officer;
 11)    the defendant shall n tify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall ot enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the co rt; and
 13)    as directed by the PI' bation officer, the defendant shall notify third parties of risks that may be occasione.d by ~he defendant's criminal
        record or personal istory or characteristics and shall permit the probation officer to make such notificatIOns and to confrrm the
        defendant's compJi ce with such notification requirement.
                                                                                                                                 llCR2033-DMS
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       AO 245B (CASD) (Rev. 121 1 Judgment in a Criminal Case
                   Sheet 4 -- Sial Conditions
                                                                                                      Judgment--Page   ~     of _ _4.;...._ _
       DEFENDANT: CH STIAN CRUCENA (3)                                                           II
       CASE NUMBER: t CR2033-DMS




                                            SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds fo revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D If deported, excluded, or Ilowed to voluntarily return to country of origin, not reenter the United States illegally; supervision waived upon
    deportation, exclusion or oluntary departure.
D Not transport, harbor, or sist undocumented aliens.
D Not associate with undoc ented aliens or alien smugglers.
D Not reenter the United Sta es illegally.
D Not enter or reside in the epublic ofMexico without written pennission of the Court or probation officer.
~ Report all vehicles owned r operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic g or controlled substance without a lawful medical prescription.
D Not associate with known sers of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program mental health treatment as directed by the probation officer, take all medications as prescribed by a
                               0
    psychiatrist/physician, an not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychologic I evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    infonnation between the p obation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be detennined     the probation officer, based on the defendant's ability to pay.
D Take no medication conta' ing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
D Provide complete discIosu of personal and business financial records to the probation officer as requested.
o   Be prohibited from openin checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full tim employment andlor schooling or a combination of both.
D Resolve all outstanding wa ts within          days.
D Complete          hours of ommunity service in a program approved by the probation officer within
D Reside in a Residential Re try Center (RRC) as directed by the probation officer for a period of
~ Participate in a program of rug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
  probation officer. Allow fo reciprocal release of information between the probation officer and the treatment provider. May be required to
  contribute to the costs of s ices rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




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